
192 P.3d 843 (2008)
222 Or. App. 204
STATE of Oregon, Plaintiff-Respondent,
v.
Robyn Kay KENNEDY, Defendant-Appellant.
C053470CR; A133510.
Court of Appeals of Oregon.
Submitted July 3, 2008.
Decided September 3, 2008.
Erin Galli and Chilton, Ebbett &amp; Galli, LLC filed the brief for appellant.
*844 Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Michael R. Washington, Senior Assistant Attorney General, filed the brief for respondent.
Before EDMONDS, Presiding Judge, and WOLLHEIM, Judge, and SERCOMBE, Judge.
PER CURIAM.
Defendant was convicted of one count of unauthorized use of a vehicle, ORS 164.135, for riding on the back of a motorcycle that had been stolen by her boyfriend. On appeal, defendant contends that the trial court erred in denying her motion for a judgment of acquittal on that count, because the record is insufficient to establish that defendant knew that the motorcycle had been stolen. The state concedes that the trial court erred in that regard. We agree and accept the state's concession.
Reversed.
